          Case 2:05-cv-00652-WD Document 39 Filed 01/17/07 Page 1 of 2
          UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT



  ~                                  Nos. 6-4230, 6-4305, 6-4442
~.\/
                                               Lexington Ins Co
                                                       vs.

                                                Kidspeace Corp
                         Lexington Ins Co, Appellant in 06-423~&:'" '..
                         PA Prop Cslty Ins, Appellant in               06-43~~-----~
                             Kidspeace Corp, Appellant in 06-4442
       (Eastern District of Pennsylvania Civil No. 05-cv-00652)

                                                  o   R D E R



        In accordance with the agreement of the parties in the above
entitled case, it is entered dismissed by the Clerk under the
authority conferred upon her by Rule 42(b), Federal Rules
of Appellate Procedure without cost to either party.



          ATrue Copy:	                                          lsi Marcia M. Waldron
                                                                Clerk
                                                                United States Court of Appeals
                                ~   ,.',   r
                                                                for the Third Circuit
       MalCla M. WalOlon,

              Clerk




Date: January 1'/, 2007

cc:
        Charles W. Craven, Esq.
        Susan E. Wild, Esq.
        Errol C. Deans Jr., Esq.
        Lise Luborsky, Esq.
                             Case 2:05-cv-00652-WD Document 39 Filed 01/17/07 Page 2 of 2

                                                    OFFICE OF THE CLERK

MARCIA M. WALDRON                         UNITED STATES COURT OF ApPEALS                                                                      TELEPHONE
     CLERK                                          FOR THE THIRD CIRCUIT                                                                     215-597-2995
                                               21400 UNITED STATES COURTHOUSE
                                                     601 MARKET STREET
                                                 PHILADELPHIA, PA 19106-1790



Eastern P A             Clerk of District Court                                                                         Date       01/17/07
      (District)
Lexinl:ton Ins Co v. Kidspeace Corp                                                                               C. of A. No. 06-4230/4305/4442
      (Caption)
Lexington Ins Co, Aplt in 06-4230
PA Prop Cslty Ins, Aplt in 06-4305
Kidspeace Corp. Aplt in 06-4442
      (Appellant)

Civil No. 05-cv-00652 (JWD)
       (D.C. No.)

Enclosures:

_ _ _--:0~1~/1"'-'7'-'-/0"'-7'______     Certified copy of C. of A. Order by the Clerk/XXXXX
         (Date)

_ _ _ _ Released (Record) (Supplemental Record - First - Second - Third)

_ _ _ _ Copy of this form to acknowledge receipt and return to C. of A.

_ _ _ _ Record not released at this time until appeal(s) closed at No.(s).                                                                        _

_ _ _ _ Please forward Certified List in lieu of Record to this office.

_ _ _ _ The certified copy of order issued as the mandate on                                                                   is recalled.

                                                          ---,-,/s",--/"",--A"""n,-,,,th~o~n-.r-y~In~f;!o..!:!:a~nt~e        (267)-299- 4916
                                                                            Case Manager                                   Telephone Number
Receipt Acknowledge:


   (Name)

  (Date)
                                                                                                                       Rev. 4/3/03
                                                                                        Appeals (Certified List in Lieu of Record)
